
PER CURIAM.
In this appeal from convictions for robbery and possession of cocaine, appellant Darrell Staten raises two issues. Both are without merit. The search of Staten’s automobile, which produced the cocaine in question, was lawful since Staten had committed the offense of fleeing a police officer1 and was subject to arrest for same. Moreover, the court did not err in placing Staten on probation despite the fact he also was declared a habitual felony offender.
See King v. State, 597 So.2d 309 (Fla.2d DCA March 4, 1992).
Affirmed.
CAMPBELL, A.C.J., and LEHAN and HALL, JJ., concur.

. § 316.1935, Fla.Stat. (1989).

